In this case it has been stipulated by the parties, and in accordance therewith, ordered by the court, that the appeal should be submitted to the court for decision upon the briefs and transcript filed and arguments made in an appeal involving the same parties and the same questions, numbered 2530 and entitled, Mary V. Coward, Plaintiff and Respondent, v. Agnes De Cray, as Executrix, etc., et al., Defendants and Appellants; Catherine L. Cody et al., Defendants and Respondents.
A decision in the above-entitled appeal, No. 2530, has this day been rendered and filed (ante, p. 290, [176 P. 56]), and for the reasons given therein, and in accordance with the stipulation and order filed herein, the judgment herein is affirmed.
Sturtevant, J., pro tem., and Beasly, J., pro tem.,
concurred. *Page 784 